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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                               CRIMINAL ACTION NO. 1:08CR119-P-D


TRACEY LEE FIELDS, ROY E.
HAZZLE, JR., AND JAVAN LAMECK
SHUMPERT

                                              ORDER

       This cause is before the Court on defendant Shumpert’s Motion for Continuance [27]. The

Court, having reviewed the motion and being otherwise fully advised in the premises, finds as

follows, to-wit:

       The trial of this matter is currently set for December 8, 2008. Counsel for defendant seeks

a continuance in order to complete additional investigation and to consult more fully with his client.

The government does not object to the requested continuance. Based on the foregoing, the Court

finds that the defendant’s motion is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. §

3161(h)(8)(A), the period of delay from December 8, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford defendant additional time to investigate and

prepare his defense to the charges at issue. Therefore, the ends of justice served by the granting of

this continuance outweigh the best interests of the public and the defendants in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that

       1.      Defendant Shumpert’s Motion for Continuance [27] is GRANTED;
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 2.    That the trial of this matter is continued as to all defendants until Monday, February

       23, 2009 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi;

 3.    That the delay from December 8, 2008 until February 23, 2009 is excluded as set out

       above;

 4.    That the deadline for filing pretrial motions is February 2, 2009;

 5.    That the deadline for submitting a plea agreement is February 9, 2009.

 SO ORDERED, this the 25th day of November, 2008.


                                              /s/ W. Allen Pepper, Jr.
                                              W. ALLEN PEPPER, JR.
                                              UNITED STATES DISTRICT JUDGE
